Case 1:22-cv-00018-JPJ-PMS Document 42 Filed 08/19/24 Page 1 of 1 Pageid#: 439




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

  JAMES WOOD,                                       )
                                                    )
                     Plaintiff,                     )      Case No. 1:22CV00018
                                                    )
  v.                                                )              ORDER
                                                    )
  BRISTOL VIRGINIA                                  )       JUDGE JAMES P. JONES
  UTILITY AUTHORITY,                                )
                                                    )
                     Defendant.                     )

        No lawyer has entered an appearance in this case on behalf of the plaintiff James

 Wood. The Court will hold a status conference hearing to set a trial date for the case and

 resolve any other pretrial issues. James Wood must appear in person before the Court

 at its courtroom in the Federal Building and Courthouse, 180 West Main Street, Abingdon,

 Virginia, on September 12, 2024, at 1:30 p.m. If he does not appear at that date and time,

 the Court will assume he has lost interest in the matter and his case may be dismissed

 without further notice.

        If there are any questions about this ma ter, they may be directed to Felicia

 Clark, Courtroom Deputy, at (276) 628-5116. The Clerk shall mail a copy of this Order to

 James Wood, 21129 Battle Hill Drive, Bristol, VA 24202.

        It is so ORDERED.

                                                 ENTER: August 19, 2024

                                                 /s/ JAMES P. JONES
                                                 Senior United States District Judge
